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               EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                             Chapter 15

 MICHAEL DAVID GREENFIELD                           Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.



[AMENDED PROPOSED] ORDER GRANTING CERTAIN DISCRETIONARY RELIEF
            PURSUANT TO 11 U.S.C. §§ 1521(A)(5) AND 1521(B)


          Lior Dagan, in his capacity as the Court-appointed trustee and foreign representative

(“Trustee” or “Foreign Representative”) of debtor Michael David Greenfield (“Greenfield,” a.k.a.

Michael David Ben-Ari, or the “Debtor”), having filed a motion for entry of an order affirming his

authority to realize and take control of certain U.S.-based non-reserved identified assets of the

Debtor, U.S.-based, non-reserved but unidentified assets of the Debtor that may be identified in

the future (collectively the “Non-Reserved Assets”), and U.S.-based reserved, identified and

unidentified, assets (conditional upon the agreement of the DOJ, which may be evidenced to the

Court in a manner determined by the DOJ) and repatriate the assets to Israel in an account held by

the Foreign Representative as a trustee of the Debtor (as to the motion, the “Motion”); and upon

consideration of (i) the Declaration of Amiad Kushner and the exhibit attached thereto; and the

Declaration of Roman Peltsman, filed concurrently herewith and in support of the Motion; and this

Court having recognized the Foreign Proceeding as a “foreign main proceeding” and Lior Dagan

as the Foreign Representative of the Debtor on August 5, 2021; and the Court having jurisdiction

to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334; and this Motion being a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2)(P); and this Court having determined that



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the relief sought in the Motion is in the best interests of the Debtor, the Debtor’s creditors, and all

other interested parties;

       The Foreign Representative now modifies the relief sought in the Motion, seeking an order

affirming his authority to realize and take control of only the Non-Reserved Assets and repatriate

the Non-Reserved Assets to Israel in an account held by the Foreign Representative as a trustee of

the Debtor; and upon consideration of (i) the Declaration of Amiad Kushner and the exhibit

attached thereto; and the Declaration of Roman Peltsman, filed concurrently herewith and in

support of the Motion; and this Court having recognized the Foreign Proceeding as a “foreign main

proceeding” and Lior Dagan as the Foreign Representative of the Debtor on August 5, 2021; and

the Court having jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334; and

this Motion being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(P); and this

Court having determined that the relief sought in the Motion is in the best interests of the Debtor,

the Debtor’s creditors, and all other interested parties; IT IS HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is hereby granted as set forth herein.

       2.      The Foreign Representative is hereby entrusted with the exclusive authority to

administer, realize, and distribute the Debtor’s Non-Reserved Assets pursuant to 11 U.S.C. §§

1521(a)(5) and 1521(b) and specifically repatriate the Non-Reserved Assets to Israel.

       3.      This Court shall retain jurisdiction with respect to any and all matters relating to

the interpretation or implementation of this Order.

Dated: _____________________, 2022
       New York, New York



                                       HONORABLE SHELLEY C. CHAPMAN
                                       UNITED STATES BANKRUPTCY JUDGE



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